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            EXHIBIT A-2
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    DOCUMENT REDACTED
 # 128.121,154.118- PuTTY                                 Confidential
                                          Case 8:17-cv-01955-GJH       -- Subject
                                                                     Document
                                                          Confidential            to Protective
                                                                                   63-2
                                                                          Subject to      Filed Order
                                                                                     Protective 04/20/18 Page 3 of 3
                                                                                                Order                        PCP
                                                                                                                             PCP II
                                                                                                                                 II 006
                                                                                                                                    006                   X

 Collection          Resource       System                            [ PCP2 ]                                                            Oct 31, 2Q17 | A
Name :             LONG,    CRYSTAL                                                       Master#             DF€€12             SS#       XXX-XX-XXXX
Addr es3 :         512 €   SEKCTS   RD                                                    Birth      Day 00/00/00
                                                                                          Status              31       CC    REVIEW

Cityr        St    BALTIMORE              MD 21207                                        Coll     Unit       HA1      HARVARD
Phone        (H)   (443)    €27-3774         (H)       (000}        000-0000              Strategy            None

Employer                                                                                   1   Accounts            Totaling                1125.00

                                                                                                                                               B/S      000


                               ame/ Address                                           ID/Zi             yp e / S t atls re/Con sBsvri t. ch / Us]
>{       )                    CRYSTAL        LONG                                     1              N- Debtor              N-Agency         0-Unknow

 11/22 / 1€                   12 70€      FAIRWOOD           PKHY                    2 072 0         9-BadAdd               0-Unknow         0-Unknow
>(443)        €27-3774        LONG,       CRYSTAL                                    2               N- Deb tor             N-Agency 2 -Cell
 oe/oe/17                                                                                            0-New                  0-Unknow         1 -Borne




Options :                           T     ransaction                    |tatu3

                     |pdate         FF1      to     return                                                                                                    v
